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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF SOUTH CAROLINA

AIKEN DIVISION
Adrienne W. Saulsberry, ) Civil Action No.: 1:16-cv-02792-JMC
)
Plaintiff, )
)
v. )
)
Savannah River Remediation, LLC )
)
Defendant. )

VERDICT FORM
WE THE JURY unanimously find as follows:
A. Title VII and 42 U.S.C. § 1981 (race discrimination)

1. (2014 Position) With regard to the Plaintiff's claim against Defendant Savannah River Remediation,
LLC, do you find from a preponderance of the evidence that Plaintiff was not hired for any of the First
Line Manager positions in 2014, in whole or in part on account of her race:

Yes No.

2. (2015 Position) With regard to the Plaintiffs claim against Defendant Savannah River Remediation,
LLC, do you find from a preponderance of the evidence that Plaintiff was not hired for any of the First
Line Manager positions in 2015, in whole or in part on account of her race:

Yes No. *

B. Title VII and 42 U.S.C. § 1981 (retaliation)

3. (2014 Position) With regard to the Plaintiff's claim against Defendant Savannah River Remediation,
LLC, do you find from a preponderance of the evidence that Plaintiff was not hired for any of the First
Line Manager positions in 2014 for engaging in protected activity:

Yes x No.

4, (2015 Position) With regard to the Plaintiff's claim against Defendant Savannah River Remediation,
LLC, do you find from a preponderance of the evidence that Plaintiff was not hired for any of the First
Line Manager positions in 2015, for engaging in protected activity:

Yes ~< No.

[NOTE: If you answered "YES" to any of the questions numbers 1, 2, 3, or 4, please proceed to
answer question number 5 on compensatory damages and 6 on back pay. If you answered "no" to

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all four of question nos. 1, 2, 3, and 4, please skip question numbers 5 and 6 and skip the
remaining questions, sign and date the verdict form and return it to the courtroom. |

5. Please state the amount of damages which you find should be awarded to plaintiff for
compensatory damages, as defined by the court in the charges:

s__9: 9,000

6. Please state the amount of damages which you find should be awarded to plaintiff for
back pay, as defined by the court in the charges:

SO SAY WE ALL
9-29-2017
Jury Foreperson signature Date

Printed Jury Foreperson name
